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     [Additional counsel appearing on signature page]
 7

 8   Attorneys for Plaintiff Edwardo Munoz, and the alleged Class
 9

10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11
                                WESTERN DIVISION
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     Edwardo Munoz, individually and on         Case No. 18-cv-03893-RGK-AGR
     behalf of all others similarly situated,
14                                              ORDER
15
                       Plaintiff,
                                                Complaint served: May 15, 2018
16                                              Current response date:    June 5,
                           v.                   2018
17                                              New response date: July 5, 2018
     7-Eleven, Inc.,
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                                                Case Filed: May 9, 2018
19                  Defendant.

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 1         IT IS ORDERED THAT:
 2         1.    Defendant’s deadline to Answer or otherwise respond to the Complaint
 3   is extended from June 5, 2018 to July 5, 2018.
 4         The request to vacate the current class certification deadline is DENIED.
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 6   Date: June 08, 2018
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                                             Hon. R. Gary Klausner
                                             Judge of the United States District Court
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                                  Stipulation for Extension of Time
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